            Case 2:12-cv-01282-JLR Document 743 Filed 04/26/23 Page 1 of 7



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 7                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON
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 9

10    UNITED STATES OF AMERICA,                       CASE NO. 2:12-cv-01282-JLR

11                     Plaintiff,
12    v.                                               MOTION FOR LEAVE TO
                                                       FILE AMICUS BRIEF
13    CITY OF SEATTLE,
                                                      Noted for Consideration:
14                    Defendant.                      May 12, 2023

15

16
              I.     IDENTITY AND INTERESTS OF AMICUS CURIAE
17

18         The American Civil Liberties Union of Washington (ACLU-WA) is a

19   statewide, nonpartisan, nonprofit organization with over 150,000 members and sup-
20
     porters, dedicated to the principles of liberty and equality embodied in the Consti-
21

22   tution and federal and state civil rights laws and has a particular interest and exper-

23   tise in the area of criminal legal system reform. It has long advocated for police
24
     accountability. This case presents an important issues regarding meaningful police
25

26   accountability and revision of police department policies and oversight.

                                                                AMERICAN CIVIL LIBERTIES UNION
     MOTION FOR LEAVE TO FILE AMICUS BRIEF -                       OF WASHINGTON FOUNDATION
     1                                                                              P.O. BOX 2728
     NO. 2:12-CV-01282-JLR                                                    SEATTLE, WA 98111
                                                                                   (206) 624-2184
           Case 2:12-cv-01282-JLR Document 743 Filed 04/26/23 Page 2 of 7



 1               II.   FAMILIARITY WITH ISSUES AND SCOPE OF
 2                          ARGUMENT ON REVIEW

 3          Attorneys for Amicus have read all relevant filings in the matter and are
 4
     familiar with the record and the issues on review. Amicus also have extensive
 5
     experience with advocating on issues related to police accountability and reforming
 6

 7   policing practices.
 8
                               III.   RELIEF REQUESTED
 9
           The Western District of Washington has broad discretion to either permit or
10

11   prohibit amicus participation, and “[t]here are no strict prerequisites to qualify as
12   amici.” Wagafe v. Biden, Case No. 17-cv-00094-LK, 2022 WL 457983, *1 (W.D.
13
     Wash. Feb. 15, 2022), citing Hoptowit v. Ray, 682 F.2d 1237, 1260 (9th Cir. 1982),
14

15   overruled on other grounds by Sandin v. Conner, 515 U.S. 472 (1995); See also
16   Hooper v. City of Seattle, No. C17-0077RSM, 2017 WL 11437101, at *1 (W.D.
17
     Wash. Aug. 28, 2017). As such, district courts generally allow amicus briefs where
18

19   “the amicus has unique information that can help the court beyond the help that the
20   lawyers for the parties are able to provide.” Id., citing Cmty. Ass’n for Restoration
21
     of Env’t (CARE) v. DeRuyter Bros. Dairy, 54 F.Supp. 2d 974, 975 (E.D. Wash.
22

23   1999). District courts also allow amicus briefs from non-parties in cases “concern-
24
     ing legal issues that have potential ramifications beyond the parties directly in-
25

26
                                                              AMERICAN CIVIL LIBERTIES UNION
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     -2                                                                           P.O. BOX 2728
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            Case 2:12-cv-01282-JLR Document 743 Filed 04/26/23 Page 3 of 7



 1   volved.” Macareno v. Thomas, 378 F. Supp. 3d 933, 940 (W.D. Wash. 2019), quot-
 2
     ing NGV Gaming Ltd. v. Upstream Point Molate, LLC, 355 F. Supp. 2d. 1061, 1067
 3

 4   (N.D. Cal. 2005) (citations omitted).

 5          “The ‘classic role’ of amicus curiae is to assist a court in a case of public
 6
     interest by ‘supplementing the efforts of counsel,” and “generally courts have ‘ex-
 7

 8   ercised great liberality’ in permitting amicus briefs.” El Papel LLC v. Inslee, No.
 9   2:20-cv-01323-RAJ-JRC, 2020 WL 6219353 (W.D. Wash. Oct. 22, 2020). The
10
     Western District of Washington has recognized the American Civil Liberties Union
11

12   of Washington as amici in similar cases, holding that “[a]s a nonprofit legal organ-
13   ization with a focus on civil liberties, the ACLU-WA claims it has a strong interest
14
     in ensuring Washington law enforcement agencies comply with federal and Wash-
15

16   ington law.” Macareno, 378 F. Supp. at 940.
17         Pursuant to the precedence outlined herein, the American Civil Liberties Un-
18
     ion of Washington respectfully requests the Court grant them permission to file an
19

20   Amicus Curiae brief in this matter. The American Civil Liberties Union of Wash-
21
     ington has a unique perspective to provide to the Court in this matter, and this matter
22
     will undoubtedly have ramifications beyond the parties directly involved, as this
23

24   case focuses on a decade-old case and Consent Decree to improve policing in Seat-
25
     tle, Washington.
26
                                                                AMERICAN CIVIL LIBERTIES UNION
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            Case 2:12-cv-01282-JLR Document 743 Filed 04/26/23 Page 4 of 7



 1                 IV.    ISSUES ADDRESSED BY AMICUS CURIAE
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           The Amicus Curiae brief submitted in this matter addresses key missing com-
 3
     ponents from the Consent Decree entered into by the United States and the City of
 4

 5   Seattle, which show that the goals of the decade-long process of oversight to address
 6
     significant systemic issues within the Seattle Police Department have not yet been
 7
     fully achieved. These issues and missing items include, but are not limited to, en-
 8

 9   suring that any racial disparity data in policing is addressed by the Seattle Police
10
     Department in revising its policies and practices; explicitly banning the use of tear
11
     gas as a crowd control measure, in light of rampant abuse and misuse by the Seattle
12

13   Police Department; and implementing a system of accountability and oversight, es-
14
     pecially considering the Seattle Police Department’s history of failing out of com-
15

16
     pliance with the Consent Decree. Amicus asks the Court to understand the full

17   breadth of the issues integral to the underlying lawsuit in this matter and understand
18
     that many of the original issues of the lawsuit have not been addressed sufficiently.
19

20
            V.     WHY AMICUS BRIEFING WILL ASSIST THE COURT

21          Amicus Curiae briefing in this matter expansively discusses key missing
22
     items from the Parties’ Consent Decree and transition agreement, which show that
23
     some of the issues that led up to the original lawsuit in this matter have not yet been
24

25   resolved. These key issues include ensuring that any racial disparity data in policing
26
                                                                AMERICAN CIVIL LIBERTIES UNION
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     -4                                                                             P.O. BOX 2728
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           Case 2:12-cv-01282-JLR Document 743 Filed 04/26/23 Page 5 of 7



 1   is addressed by the Seattle Police Department in revising its policies and practices;
 2
     explicitly banning the use of tear gas as a crowd control measure, in light of rampant
 3

 4   abuse and misuse by the Seattle Police Department; and implementing a system of

 5   accountability and oversight, especially considering the Seattle Police Department’s
 6
     history of failing out of compliance with the Consent Decree.
 7

 8                                 VI.    CONCLUSION
 9         Amicus requests the Court grant this motion and permit it to file the attached
10
     Amicus Curiae brief in this case.
11
           I certify that this memorandum contains 846 words, in compliance with the
12

13   Local Civil Rules.
14
           Dated this 26th day of April, 2023.
15

16
           Respectfully submitted,

17                                    s/La Rond Baker
18
                                      La Rond Baker, WSBA 43610
                                      Enoka Herat, WSBA 43347
19                                    Jazmyn Clark, WSBA 48224
20
                                      Susannah Porter Lake, WSBA 60762
                                      AMERICAN CIVIL LIBERTIES UNION OF
21                                    WASHINGTON
22                                    PO Box 2728
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23                                    Phone: (206) 624-2184
24                                    baker@aclu-wa.org
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         Case 2:12-cv-01282-JLR Document 743 Filed 04/26/23 Page 6 of 7



 1                              Attorneys for Amici Curiae
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                                                      AMERICAN CIVIL LIBERTIES UNION
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           Case 2:12-cv-01282-JLR Document 743 Filed 04/26/23 Page 7 of 7



 1                          CERTIFICATE OF SERVICE
 2
           I hereby certify that on the date indicated below, I caused service of the
 3

 4   foregoing MOTION FOR LEAVE TO FILE AMICUS BRIEF via the CM/ECF sys-

 5   tem that will automatically send notice of such filing to all counsel of record.
 6

 7         DATED this 26th day of April, 2023 at Seattle, Washington.

 8                                                     By: /s/Tracie Wells
 9                                                     Tracie Wells, Paralegal
                                                       American Civil Liberties Union
10                                                     of Washington Foundation
                                                       P.O. Box 2728
11                                                     Seattle, WA 98111
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12                                                     twells@aclu-wa.org
13

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                                                               AMERICAN CIVIL LIBERTIES UNION
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